 1                                                       THE HONORABLE RICHARD A. JONES
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 7                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON
 8                               SEATTLE
     AEGEAN MARINE PETROLEUM S. A.,    IN ADMIRALTY
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                       Plaintiff,                          CASE NO.: 2:15-cv-00172-RAJ
10
              v.                                            JOINT MOTION FOR ORDER FOR LEAVE
11                                                          OF COURT TO DEPOSIT FUNDS IN
     M/V KAVOS PLATANOS,. etc., et al.,                     COURT, PURSUANT TO FED. R. CIV. P.
12        and                                               67, AND ON DEPOSIT, FOR THE
                                                            RELEASE OF THE VESSEL M/V KAVO
13   Certain Bunkers on board the M/V KAVO                  PLATANOS AND BUNKERS FROM
     PLATANOS,                                              ARREST AND ATTACHMENT
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                       Defendants in rem,                   HEARING DATE: FEBRUARY 20, 2015
15
              and
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     CANPOTEX SHIPPING SERVICES LTD.
17   (CSSL), et al.,

18                     Defendants and Garnishee.

19            The parties jointly move for a stipulated order, pursuant to FED. R. CIV. P. 67,

20   providing for the deposit in the Court’s registry of funds to secure release from arrest and
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     attachment of the vessel M/V KAVO PLATANOS and her bunkers (collectively, “the
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     Vessel”), and for release of the Vessel. The rule provides as follows:
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                   Rule 67. Deposit into Court
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                   (a) Depositing Property. If any part of the relief sought is a money judgment or the
25                     disposition of a sum of money or some other deliverable thing, a party—on
                       notice to every other party and by leave of court—may deposit with the court
26                     all or part of the money or thing, whether or not that party claims any of it. The
                                                                              SCHWABE, WILLIAMSON & WYATT, P.C.
     STIPULATED MOTION FOR ORDER FOR FUNDS                                             Attorneys at Law
                                                                                   1420 5th Ave., Suite 3010
     DEPOSIT AND FOR RELEASE OF VESSEL - 1                                            Seattle, WA 98101
                                                                                   Telephone 206-622-1711
     CASE NO. 2:15-cv-00172-RAJ
     PDX\119806\163805\CJF\15405339.1
 1                    depositing party must deliver to the clerk a copy of the order permitting
                      deposit.
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     FED. R. CIV. P. 67(a).
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              The parties jointly make this motion, and each consents and does not oppose the
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     motion. Specially Appearing Defendant Canpotex Shipping Services Limited will be making
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 6   the deposit of USD 494,013.00 (“the Security Amount”) as security for the release of the

 7   Vessel from arrest and attachment. The parties jointly request that, upon Order of the Court,
 8   the Vessel be released from arrest and attachment. A proposed order, to which the parties
 9
     have stipulated, is submitted herewith.
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              Dated this 20th day of February, 2015.
11

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     Counsel for Specially Appearing Defendant and Claimant to the Vessel M/V KAVO
12   PLATANOS, Indy Maritime, S.A.
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